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 2                          UNITED STATES DISTRICT COURT
 3                                DISTRICT OF ARIZONA
 4

 5
 6   H K B Inc., an Arizona corporation, doing CASE NO. 2: 16-cv-03799-DJH
     business as SOUTHWESTlNDUSTRIAL
 7   RIGGING
                                               rPROPOSEDl ORDER ON
 8                      Plaintiff,             DEFENDANtS'         MOTION TO
                                               DISMISS PURSUANT TO FRCP
 9   v.                                        12(b)(3), (6), (7), OR, IN THE
                                               ALTERNAtiVE, TO STAY ACTION
10   BOARD OF TRUSTEES FOR THE
     CARPENTERS SOUTHWEST
11   TRUSTS, erroneously sued as BOARD
     OF TRUSTEES FOR THE
12   SOUTHWEST CARPENTER'S
     SOUTHWEST TRUST; CARPENTERS
13   SOUTHWEST ADMINISTRATIVE
     CORPO~ TION, a California non-profit
14   corporation;
15                      Defendants.
16
17         Defendants', BOARD OF TRUSTEES FOR THE CARPENTERS
18   SOUTHWEST TRUSTS, erroneously sued as BOARD OF TRUSTEES FOR THE
19   SOUTHWEST CARPENTER'S SOUTHWEST TRUSTS, and CARPENTERS
20   SOUTHWEST ADMINISTRATIVE CORPORATION Motion to Dismiss Pursuant
21   to FRCP 12(b)(3 ), (6), (7), Or, in the Alternative, to Stay Action was heard and
22   FOR GOOD CAUSE SHOWN, IT IS ORDERED THAT:
23         Defendants' Motion to Dismiss Pursuant to FRCP 12(b)(3), (6), (7), Or, in
24   the Alternative, to Stay Action is granted.
25         IT IS SO ORDERED.
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            Case 2:16-cv-03799-DJH Document 18 Filed 11/22/16 Page 2 of 2

                             CERTIFICATE OF SERVICE

                      (H K B, Inc., etc., v. Board of Trustees, etc.)
                     (USDC-Arizona Case No. 2:16-cv-03799DJH)


X   I hereby certify that on November --l:):, 2016, I electronically transmitted the attached
    document, [Proposed] Order on Defendants' Motion to Dismiss Pursuant to FRCP
    12(b)(3),(6),(7), or in the Alternative, to Stay Action, to the Clerk's Office using the
    CM/ECF System for filing and transmittal of a Notice of Electronic Filing to the
    following CM/ECF registrants:

          James Edward Holland, Jr. - jholland@stinson.com,cbarajas@stinson.com



X   I hereby certify that on November~' 2016, I served the attached document by U.S.
    Mail, postage prepaid thereon on the following, who are not registered participants of the
    CM/ECF System.

          Javier Torres
          Stinson Leonard Street, LLP- Phoeniz, AZ
          1850 N. Central Avenue, Suite 2100
          Phoenix, Arizona 85004
